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VIA ECF

Hon. Hector Gonzalez
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

December 8, 2023

Re: —_Bellavia v. Pennsylvania Higher Education Assistance Agency d/b/a
American Education Services, 2:23-cv-02825-HG

Dear Judge Gonzalez:

This firm represents the Plaintiff, Leonard Bellavia, in the above-referenced matter.
We submit this status report in accordance with the Court’s directive. Since our last report,
Plaintiff has executed the settlement agreement. Counsel for Defendant Pennsylvania Higher
Education Assistance Agency, which is a quasi-governmental entity and instrumentality of the
Commonwealth of Pennsylvania, advises that the office of the Pennsylvania Attorney General
has not yet executed the agreement on behalf of the Defendant. Thank you.

ce: All counsel of record (via ECF)

Respectfully submitted, GE
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